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                                                       UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF FLORIDA

                                                                             MEMORANDUM




UNITED STATES OF AMERICA
                                                            Case No. 3:20mj278
-vs-

BRIAN KOLFAGE


DATE:            8/20/20

                 Your Case No. 20cr412
TO               United States District Court
                 Southern District of New York
                 500 Pearl Street
                 New York, NY 10007


FROM:           Irma McCain-Coby, United States District Court
                Courtroom Deputy for
                Elizabeth M. Timothy, United States Magistrate Judge
                Hope T. Cannon, United States Magistrate Judge
                United States Courthouse
                100 North Palafox Street
                Pensacola, Florida 32502-5625

SUBJECT:        Rule 5 Proceedings

       The above-styled case originated in your division. Enclosed please find copies of
documents regarding proceedings held in the Northern District of Florida in Pensacola, Florida
wherein the following action was taken:

INITIAL APPEARANCE: 8/20/20
Condition of Release: Initial Appearance;

Enclosures
